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 3   Albany, CA 94706
     Telephone (510) 507-8100
 4   Facsimile (510) 525-0087
 5   Attorney for Defendant
     John Zhong Xian Huang
 6

 7                                UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9                                         FRESNO DIVISION
10                                                   )   Case No.: 1:11-cr-00113-AWI (002)
     UNITED STATES OF AMERICA,                       )
11                                                   )   STIPULATION AND [PROPOSED]
                    Plaintiff,                       )   ORDER MODIFYING CONDITIONS
12                                                   )   OF RELEASE
            vs.                                      )
13                                                   )
     JOHN ZHONG XIAN HUANG,                          )
14                                                   )
                    Defendant.                       )
15
            Based on the recommendation of defendant’s Pretrial Services Officer, Zaren Craddock,
16
     and wherein the defendant has had no problems whatsoever while on Pretrial Supervision
17
     throughout the pendency of this case, the defendant JOHN ZHONG XIAN HUANG, by and
18
     through his counsel SETH P. CHAZIN, and the United States, by and through AUSA
19
     LAUREL MONTOYA, hereby stipulate that the defendant’s conditions of release should be
20
     modified to relieve the defendant of supervision by Pretrial Services although the following
21
     conditions should remain:
22
            (1) The defendant shall not violate any federal, state or local law;
23
            (2) The defendant shall immediately advise the court, defense counsel and the United
24
     States in writing of any change in address and telephone number;
25
            (3) The defendant shall appear in court as ordered and must surrender to serve any
26
            sentence imposed.
27
            (4) The defendant shall remain released on a $20,000 unsecured bond signed by John
28
     Zhong Xian Huang and Bernice Chung
           Case 1:11-cr-00113-DAD-BAM Document 162 Filed 08/31/16 Page 2 of 4



 1          (5) The defendant’s passport shall continue to remain in the custody the Clerk of the
 2   Court pending further order of the court and the defendant shall not obtain any other passport
 3   during the pendency of this case.
 4

 5          IT IS SO STIPULATED.
 6
     Date: August 26, 2016                        ________/s/__________________________
 7
                                                  SETH P. CHAZIN
 8                                                ATTORNEY FOR JOHN Z. X. HUANG

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10
     Date: August 26, 2016                        ________/s/_________________________
11
                                                  LAUREL MONTOYA
12                                                ASSISTANT UNITED STATES ATTORNEY

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           Case 1:11-cr-00113-DAD-BAM Document 162 Filed 08/31/16 Page 3 of 4



 1
                                   UNITED STATES DISTRICT COURT
 2
                                  EASTERN DISTRICT OF CALIFORNIA
 3
                                           FRESNO DIVISION
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 5
                                                     )   Case No.: 1:11-cr-00113-AWI
     UNITED STATES OF AMERICA,                       )
 6                                                   )   [PROPOSED] ORDER MODIFYING
                     Plaintiff,                      )   DEFENDANT’S CONDITIONS OF
 7                                                   )   RELEASE
            vs.                                      )
 8                                                   )
     JOHN ZHONG XIAN HUANG,                          )
 9                                                   )
                     Defendant.                      )
10

11

12          GOOD CAUSE SHOWN, IT IS HEREBY ORDERED, that that the defendant’s

13   conditions of release shall be modified to relieve the defendant of supervision by Pretrial

14   Services.

15          IT IS FURTHER ORDERED THAT the defendant shall continue to abide by the

16   following conditions:

17
            (1) The defendant shall not violate any federal, state or local law;

18
            (2) The defendant shall immediately advise the court, defense counsel and the United

19
     States in writing of any change in address or telephone number;

20
            (3) The defendant shall appear in court as ordered and must surrender to serve any

21
            sentence imposed.

22
            (4) The defendant shall remain released on a $20,000 unsecured bond signed by John

23
     Zhong Xian Huang and Bernice Chung.

24
            (5) The defendant’s passport shall continue to remain in the custody the Clerk of the

25
     Court pending further order of the court and the defendant shall not obtain any other passport

26
     during the pendency of this case.
     IT IS SO ORDERED.
27

28      Dated:     August 31, 2016                            /s/ Barbara A. McAuliffe                _
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                                      UNITED STATES MAGISTRATE JUDGE
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